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                                        6    MILLER

                                        7

                                        8

                                        9                         UNITED STATES DISTRICT COURT
                                        10                FOR THE EASTERN DISTRICT OF CALIFORNIA
Leader Berkon Colao & Silverstein LLP




                                        11

                                        12   MATTHEW GARRETT, PH.D., an                 Case No. 1:21-cv-00845-ADA-CDB
                                             individual, and PROFESSOR ERIN
                                        13
                                             MILLER, an individual,
          Attorneys at Law




                                        14
                                                         Plaintiffs,                    PLAINTIFFS’ REQUEST FOR
                                        15                                              JUDICIAL NOTICE IN SUPPORT
                                        16         vs.                                  OF ITS OPPOSITION TO
                                                                                        DEFENDANTS’ MOTION TO
                                        17                                              DISMISS SECOND AMENDED
                                             CHRISTOPHER W. HINE, General
                                        18   Counsel of the Kern Community College      COMPLAINT; DECLARATION OF
                                             District, in his individual and official   ARTHUR I. WILLNER; EXHIBITS
                                        19                                              A-D
                                             capacities; THOMAS J. BURKE,
                                        20   Chancellor of the Kern Community
                                             College District, in his individual and
                                        21
                                             official capacities; and DOES 1
                                        22   THROUGH 50, inclusive,                     Honorable Christopher D. Baker

                                        23
                                                         Defendants.
                                        24                                              Hearing Date: TBD
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                                                                                              Plaintiffs’ Request for Judicial Notice
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                                        1          Plaintiffs Matthew Garrett, Ph.D. and Professor Erin Miller hereby request,
                                        2    pursuant to Rule 201 of the Federal Rules of Evidence, that the Court take judicial
                                        3    notice of the following in connection with their Opposition to Defendants’ Notice
                                        4    of Motion and Motion to Dismiss Plaintiffs’ Second Amended Complaint:
                                        5          1.     Exhibit A: The Board of Trustees of The Kern Community College
                                        6    District Statement of Charges In the Matter of the Dismissal of Matthew Garrett, A
                                        7    Tenured Academic Employee;
                                        8          2.     The Statement of Charges seeks the dismissal of Dr. Garrett’s
                                        9    employment with Kern Community College District; and
                                        10         3.     The existence of the allegations set forth in the Statement of Charges.
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                                        11                                       DISCUSSION
                                        12         Under Federal Rule of Evidence 201(b), a “judicially noticed fact must be
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                                        13   one not subject to reasonable dispute in that it is either: (1) generally known within
                                        14   the territorial jurisdiction of the trial court; or (2) capable of accurate and ready
                                        15   determination by resort to sources whose accuracy cannot be reasonably
                                        16   questioned.” Furthermore, a court “shall take judicial notice if requested by a party
                                        17   and supplied with the necessary information.” See Fed. R. Evid. 201(d); Mullis v.
                                        18   United States Bank, 828 F.2d 1385, 1388 n.9 (9th Cir. 1987). The court may take
                                        19   judicial notice of matters of public record, but “it cannot take judicial notice of
                                        20   disputed facts contained in such public records.” Khoja v. Orexigen Therapeutics,
                                        21   Inc., (9th Cir. 2018), cert. denied sub nom. Hagan v. Khoja, 139 S. Ct. 2615, 204 L.
                                        22   Ed. 2d 264 (2019) (citing Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir.
                                        23   2001).
                                        24         Plaintiffs request that this Court take judicial notice of the Board of Trustees
                                        25   of the Kern Community College District’s (“KCCD”) Statement of Charges
                                        26   regarding In the Matter of the Dismissal of Matthew Garrett, A Tenured Academic
                                        27   Employee (Declaration of Arthur I. Willner, “Willner Decl.,” ¶ 2; Exhibit A), that
                                        28                                             -2-
                                                                                                    Plaintiffs’ Request for Judicial Notice
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                                        1    the Statement of Charges seeks Dr. Garrett’s dismissal from his employment with
                                        2    KCCD, and the specific allegations set forth therein asserted by KCCD against Dr.
                                        3    Garett. Although Dr. Garrett disputes virtually all of the factual allegations
                                        4    contained in the Statement of Charges, plaintiffs do not request judicial notice of
                                        5    disputed facts – only that the charges have been made.
                                        6          On March 21, 2023, Dr. Garrett emailed KCCD Board of Trustees President
                                        7    Romeo Agbolog requesting the opportunity to formally respond to the Board’s
                                        8    charges at its April 13, 2023 public Board Meeting. (Willner Decl., ¶¶ 3-5;
                                        9    Exhibits B-D.)
                                        10         The Statement of Charges is a matter of public record of which this Court
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                                        11   may take judicial notice. See Perry v. Viloria, Case No. SACV 19-2381 JVS
                                        12   (JDEx), 2020 WL 6145102, at *3 (C.D. Cal. Sept. 17, 2020) (granting defendant’s
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                                        13   request for judicial notice of a school district’s bylaws and schoolboard’s
                                        14   resolution, as these documents are “all matters of public record, not subject to
                                        15   reasonable dispute.”) Moreover, it is Dr. Garrett’s understanding that the Board of
                                        16   Trustees intends to address the Statement of Charges at its April 13, 2023 public
                                        17   hearing and he has asked to respond to the charges at that public meeting.
                                        18         Therefore, the existence of the Statement of Charges, the fact that it seeks Dr.
                                        19   Garrett’s dismissal, and the allegations contained therein (irrespective of any factual
                                        20   disputes) are matters of public record and are not subject to reasonable dispute. It
                                        21   constitutes information that is being made publicly available by a government
                                        22   entity (the community college district) and its authenticity is not in question.
                                        23   Daniels-Hall v. National Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir. 2010).
                                        24   ///
                                        25   ///
                                        26   ///
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                                                                                                  Plaintiffs’ Request for Judicial Notice
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                                        1          For the reasons set forth herein, the above items meet the requirements of
                                        2    Fed. R. Evid. 201(b)(2) and the Court must take judicial notice of them.
                                        3

                                        4
                                             DATED: March 21, 2023           LEADER BERKON COLAO &
                                                                             SILVERSTEIN LLP
                                        5

                                        6
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                                        9                                     PH.D. and PROFESSOR ERIN MILLER
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          Attorneys at Law




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